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                    UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MISSOURI

                          COURTROOM MINUTE SHEET
                             CIVIL PROCEEDINGS

Date April 16, 2018             Case No. 2:16CV24 ERW

Smith, et al.,
_________________________________ v. Toyota Motor Corp.

Judge E. Richard Webber

Court Reporter R. Fiorino                 Deputy Clerk M. Berg

Attorneys for Plaintiff(s) Tab Turner, Doug Dowd, Lia Dowd

Attorneys for Defendant(s) K. Kern, D. Stone, C. Dupen and S. Strum


Parties present for final pretrial conference. Court and counsel dismissed
motions in limine. Arguments of counsel heard. Order to follow.




(lunch break from 12:00 - 1:00)

Attorneys Present : _____________________________

Proceedings commenced:        8:56 a.m.


Proceedings concluded:        2:23 p.m.
